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                                  UNITED STATES DISTRICT COURT
                               DISTRICT OF UTAH, CENTRAL DIVISION


    UNITED STATES OF AMERICA,                           ORDER CLOSING CASE AND
                                                        DIRECTING THAT DKT. 269
    Plaintiff,                                        REMAINED SEALED FOR 60 DAYS

    v.                                                   Case 2:11-cv-00419-RJS-DBP

    CORPORATIONS FOR CHARACTER,                              Judge Robert J. Shelby
    L.C., et al.,
                                                        Magistrate Judge Dustin B. Pead
    Defendants.


           On March 23, 2018, the court entered the stipulated Final Order for Permanent Injunction

and Civil Penalty Judgment.1 And on May 18, 2018 the court held a hearing on the final two

pending motions in the case:

           1)      The United States’ Unopposed Motion for Order to Vacate and Bar the Unsealing

of Docket No. 2692; and

           2)      The law firm of Thompson Hine LLP’s Motion to Intervene and Enforce

Sanctions Award.3

For the reasons stated at the May 18 hearing, the court denied the United States’ Motion, but

directed that Docket Entry 269, an Order issued by Judge Waddoups, should remain sealed for

sixty days, to permit the parties time to appeal.4 And the court has issued a written order

granting in part and denying in part Thompson Hine’s Motion to Intervene.5


1
    Dkt. 365.
2
    Dkt. 360.
3
    Dkt. 367.
4
    Dkt. 376 (Minute Order).
5
    Dkt. 377.

                                                  1
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      This case is concluded. Accordingly, the court directs the clerk of court to:

      1) Close this case; and

      2) Keep Docket Entry 269 sealed for sixty days, unless directed to do otherwise by the

         court.

SO ORDERED this 29th day of May, 2017.

                                            BY THE COURT:


                                            ________________________________________
                                            ROBERT J. SHELBY
                                            United States District Judge




                                               2
